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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


   JAMES H. ERINAKES, as Executor of the :
   Estate of Charles H. Erinakes         :
                                         :
                  v.                     :               C.A. No.: 1:16-cv-00391-M-LDA
                                         :
   UNITED STATES OF AMERICA              :


                                  AMENDED COMPLAINT

                                             PARTIES

           1.     James H. Erinakes brings this claim as Executor of the Estate of Charles H.

   Erinakes. He is a citizen and resident of West Warwick, Rhode Island and of the Unites States

   of America.

           2.     Defendant United States of America is the party being sued for the acts and/or

   omissions of the United States Veterans Affairs Medical Centers.

                                   VENUE AND JURISDICTION

           3.     Venue is proper in that all, or a substantial part of the acts and omissions

   forming the basis of these claims occurred in the District of Rhode Island. Additionally,

   Plaintiff resides in Rhode Island and bring this complaint in the United States District Court

   where he resides.

           4.     Certain claims herein are brought against the United States pursuant to the

   Federal Tort Claims Act, 28 U.S.C. §§ 1346(b); 2671-2680.

           5.     Pursuant to 28 U.S.C. § 1346(b) and 28 U.S.C. § 2675, the claims herein against

   the United States were presented to the Department of Veterans Affairs on December 10,

   2014.   The Department of Veterans Affairs failed to make a decision on plaintiff’s
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   administrative claim within the time provided for by law. Accordingly, a constructive denial of

   the claim has occurred.

                                           COUNT I
                                         NEGLIGENCE
                                   UNITED STATES OF AMERICA

           1.      On or about September, 2011, the United States Veterans Affairs Medical

   Centers, by and through its agents, actors and employees, undertook for valuable

   consideration to diagnose, treat, and care for Charles H. Erinakes.

           2.      It then and there became and was the duty of defendant United States of

   America, by and through its agents, actors and employees, to exercise ordinary care in the

   diagnosis, treatment and care of Mr. Erinakes.

           3.      Nevertheless, defendant disregarded its duty as aforesaid and failed to exercise

   said degree of diligence and skill in that it failed to properly diagnose and failed to render

   adequate, proper, and necessary treatment to Charles H. Erinakes and was otherwise negligent

   in its diagnosis, treatment, and care of him.

           4.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Charles H. Erinakes suffered severe personal injuries and pain and

   suffering which ultimately resulted in his wrongful death on June 12, 2015.

           5.      By reason of the foregoing, Charles H. Erinakes’ estate has incurred expenses

   for medical and nursing treatment and care, medicines, counseling, and the like, which

   damages are remunerable under R.I. Gen. Laws §10-7-5.

           6.      By reason of the foregoing, Charles H. Erinakes suffered severe injuries to his

   mind and body, nerves, and nervous system, and endured extreme pain and suffering, all of

   which damages are remunerable on behalf of the estate of Charles H. Erinakes as set forth

   under R.I. Gen Laws §10-7-7.


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          WHEREFORE, plaintiff, as Executor of the Estate of Charles H. Erinakes, demands

   judgment against defendant United States of America in an amount sufficient to establish the

   jurisdiction of this Court plus interest and costs and whatever further relief this Honorable

   Court deems appropriate.

                                DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a trial by jury and designates Amato A. DeLuca as trial

   counsel.

                                                 Plaintiff,
                                                 By his Attorneys,


                                                 /s/ Christopher E. Hultquist_____________
                                                 Amato A. DeLuca (#0531)
                                                 Christopher E. Hultquist (#5464)
                                                 DeLUCA & WEIZENBAUM, LTD.
                                                 199 North Main Street
                                                 Providence, RI 02903
                                                 (401) 453-1500
                                                 (401) 453-1501 – Fax
                                                 chris@delucaandweizenbaum.com

   DATED: December 6, 2016




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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


   JAMES H. ERINAKES, Individually and as :
   Executor of the Estate of Charles H. Erinakes :
                                                 :
                  v.                             :         C.A. No.: 1:16-cv-00391-M-LDA
                                                 :
   UNITED STATES OF AMERICA;                     :
   JOHN/JANE DOE CORPORATION, Alias :
   and JOHN/JANE DOE, MD, Alias                  :


                                        CERTIFICATION

           I hereby certify that this document was filed through the ECF system and will be sent

   electronically to the registered participants identified on the Notice of Electronic Filing (NEF)

   and that papers copies have been sent to those indicated as non-registered participants on this

   6th day of December 2016.



                                                           /s/ Christopher E. Hultquist




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